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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 15-cr-00149-JLK

UNITED STATES OF AMERICA,

             Plaintiff,
v.

1.   RAUL CARAVEO,
2.   PAMILA LUCERO,
3.   SABRINA CARAVEO,
4.   EUGENE CHAVEZ,
5.   CAROLINA ARAGON,
6.   CRISTINA PORTILLOS,
7.   CONRAD ARCHULETA, and
8.   NANCY GUZMAN,

             Defendants.

________________________________________________________________

             STIPULATED PROTECTIVE ORDER PERTAINING TO
                 DEFENDANTS ARCHULETA AND GUZMAN
_____________________________________________________________________

       The United States of America, through Assistant United States Attorney Martha A.

Paluch, and defendant Conrad Archuleta, through his counsel David Owen, and

defendant Nancy Guzman, through her counsel John Sullivan, hereby submit this

Stipulated Protective Order for the Court’s consideration and approval.

       On April 24, 2015, the Court signed a Stipulated Protective Order regarding the

materials discussed below and the receipt of them by the first six named defendants in

this case (Doc. 62). On June 10, 2015, the grand jury returned a Superseding Indictment

charging Conrad Archuleta and Nancy Guzman in Count 1, with violating Title 18, United

States Code, Section 286, Conspiracy to File False Claims for Refund, and in Counts 34


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and 35, with violations of Title 18, United States Code, Section 287, False Claims for

Refund (Doc. 93). This Stipulated Protective Order pertains to disclosure of the

materials referenced below to Defendants Archuleta and Guzman.

       This case involves the submission of over 250 tax returns to the Internal Revenue

Service (IRS). Additional evidence in this case includes the IRS transcripts pertaining to

the individuals named in the subject returns. This tax material contains social security

numbers, dates of birth, addresses, and other personal identifying information. It is

necessary for the government to make these tax returns, transcripts, and other tax

material available to defendants and their counsel in discovery.

       In addition, the discovery in this case includes records from the Department of

Motor Vehicles and from the Colorado Department of Corrections. These records

contain social security numbers, dates of birth, addresses, and other personal identifying

information.

       In order to balance the privacy concerns of the individuals named in the tax

returns, related tax material, and other records against the important interest in the

government providing broad discovery in this case, the parties stipulate to this protective

order. For good cause, the Court may enter a protective order regulating discovery in a

criminal case pursuant to Fed. R. Crim. P. 16(d)(1).

       IT IS STIPULATED that disclosure of information contained in the tax returns,

related tax material, interviews, and other records at issue in this case shall be made only

to the defendants, their attorneys, and anyone hired or employed for the purpose of

assisting in the preparation of the defense in this case (to include third-party vendors); the

defendants and his or her attorney or agents will not use this information, or the

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substance thereof, in any way except as is necessary in preparing and presenting the

legal defense of this case; this information shall be maintained in the defense attorneys’

(or third-party vendors’) custody; and such information shall not otherwise be disclosed,

reproduced, or disseminated. Defense counsel agree that if any portion of the discovery

is provided to a third-party vendor, defense counsel will provide that vendor with a copy of

this Stipulated Protective Order and will ensure that the third-party vendor agrees to the

terms set forth in this Protective Order prior to receipt of any discovery.

       IT IS ALSO STIPULATED that this agreement may be modified by specific

agreement between the United States and the defendant(s) where disclosure of certain

redacted discovery to a defendant is necessary.

       SO STIPULATED:



_s/David Owen_______ _6/26/15_             _s/John Sullivan__     __6/26/15 _
David Owen               Dated             John Sullivan          Dated
Counsel for Conrad Archuleta               Counsel for Nancy Guzman



_s/Martha A. Paluch_____           __6/26/15___
AUSA Martha A. Paluch              Dated
Counsel for the United States



       The Plaintiff’s Unopposed Motion for Protective Order (Doc. 135) is GRANTED.

       Dated June 26, 2015



                            _______________________________
                            The Honorable JOHN L. KANE
                            Senior U.S. District Court Judge

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